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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


  United States, et al.

                      Plaintiffs,

          vs.                                                Civil Action No. 1:23-cv-00108-LMB-JFA

  Google LLC

                      Defendant.


               DECLARATION OF EILEEN M. COLE IN SUPPORT OF
           NON-PARTIES MICROSOFT CORPORATION AND XANDR INC.’S
          MEMORANDUM IN SUPPORT OF THE PARTIES’ MOTIONS TO SEAL
                (DOCKET NOS. 605, 642, 651, 661, 667, 712, AND 738)


          I, Eileen M. Cole, hereby declare as follows:

          1.      I am a partner with the law firm of Orrick, Herrington, & Sutcliffe LLP, counsel

  for Microsoft Corporation and Xandr, Inc. I respectfully submit this declaration in support of Non-

  Parties Microsoft Corporation and Xandr Inc.’s Memorandum In Support Of The Parties’ Motions

  To Seal (Docket Nos. 605, 642, 651, 661, 667, 712, AND 738).

          2.      This declaration is based upon my personal knowledge and my review of relevant

  documents in this case. I am competent to testify to the matters stated herein.

          3.      Attached to this declaration as Exhibit A is a true and correct redacted copy of

  Excerpts from the Microsoft 30(b)(6) deposition transcript (Benneaser John), Tr. 1-5, 282-313,

  318-321, originally filed under seal as Exhibit 9 to the Declaration of Bryon Becker in Support of

  Google’s Motion for Summary Judgment and Motions to Exclude (the “April Becker Decl.”) at

  Docket Nos. 581-9 & 597-8. Aside from the redactions and the replacement of the original exhibit
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  cover page, Exhibit A is as received from counsel for Google LLC (“Google”). As the redacted

  information reflects confidential, non-public, and commercially sensitive information on

  Microsoft's business strategies and market assessments, Microsoft has requested the redacted

  portions remain sealed.

         4.      Attached to this declaration as Exhibit B is a true and correct redacted copy of a

  seven page Excerpt from Exhibit 14 to the Microsoft 30(b)(6) deposition (Benneaser John),

  originally filed under seal as Exhibit 29 to the April Becker Decl. at Docket Nos. 582-9 & 598-4.

  Aside from the redactions and the replacement of the original exhibit cover page, Exhibit B is as

  received from counsel for Google. The complete Exhibit 14 to the Microsoft 30(b)(6) deposition

  included multiple presentations. Here, the excerpted first page of Exhibit 14, and the cover page

  of the first presentation have the title “DSP Investment Strategy,” dated May 20, 2019, Bates No.

  ATT-GCID-00111192. The remaining pages in the Excerpt are Bates Numbered ATT-GCID-

  00111239 to ATT-GCID-00111244 and come from the second presentation in the Exhibit which

  was titled “SSP Business Investment Case,” dated November 2019. Microsoft requests redactions

  to the pages Bates Nos. ATT-GCID-00111240 to ATT-GCID-00111244.                  As the redacted

  information reflects confidential, non-public, and commercially sensitive internal data on Xandr's

  actual and projected revenues, assessments of market performance, and the geographic distribution

  of Xandr's revenue, Microsoft has requested the redacted portions remain sealed.

         5.      Attached to this declaration as Exhibit C is a true and correct redacted copy of

  Excerpts from a presentation titled “Future of Advertising,” dated July 2020, bearing Bates No.

  MSFT-LIT-0000000137, originally filed under seal as Exhibit 87 to the April Becker Decl. at

  Docket Nos. 591-7 & 603-2. Aside from the redactions and the replacement of the original exhibit

  cover page, Exhibit C is as received from counsel for Google. As the redacted information reflects



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  confidential, non-public, and commercially sensitive internal data on Xandr's actual and projected

  revenues, assessments of market performance, and the geographic distribution of Xandr's revenue,

  as well as non-public contact information for a Microsoft employee, Microsoft has requested the

  redacted portions remain sealed.

         6.      Attached to this declaration as Exhibit D is a true and correct redacted copy of a

  seven page excerpt from a presentation titled “SSP Business Investment Case,” dated November

  2019, originally filed under seal as Exhibit 89 to the April Becker Decl. at Docket Nos. 591-9 &

  603-4. Aside from the redactions and the replacement of the original exhibit cover page, Exhibit

  D is as received from counsel for Google. The excerpt contains the presentation cover page,

  bearing Bates No. 00111234, followed by Bates Nos. ATT-GCID-00111240 to ATT-GCID-

  00111244 which are excerpts from the same presentation. Microsoft requests redactions to the

  pages Bates Nos. ATT-GCID-00111240 to ATT-GCID-00111244. As the redacted information

  reflects confidential, non-public, and commercially sensitive internal data on Xandr's actual and

  projected revenues, assessments of market performance, and the geographic distribution of Xandr's

  revenue, Microsoft has requested the redacted portions remain sealed.

         7.      Attached to this declaration as Exhibit E is a true and corrected redacted copy of

  Excerpts from the Microsoft 30(b)(6) deposition transcript (Benneaser John), Tr. 1-5, 278-297,

  318-321, 318-321, originally filed under seal as Exhibit 116 to the Declaration of Bryon Becker in

  Support of Google LLC’s Oppositions to Plaintiffs’ Motions to Exclude at Docket Nos. 646-17 &

  650-9. Aside from the redactions and the replacement of the original exhibit cover page, Exhibit

  E is as received from counsel for Google. As the redacted information reflects confidential, non-

  public, and commercially sensitive information on Microsoft's business strategies and market

  assessments, the geographic distribution of Xandr's revenue, and Microsoft’s interactions with the



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  Department of Justice, Microsoft has requested the redacted portions remain sealed.



  I declare under penalty of perjury that the foregoing is true and correct.

  Executed June 14, 2024,
  in Washington, D.C.


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                                             Eileen M. Cole




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